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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

_________________________________________
                                          )
In re:                                    )                           Chapter 11
                                          )
SOUTHERN FOODS GROUP, LLC, et al.,        )                           Case No. 19-36313
                                          )
            Debtors.1                     )                           (Jointly Administered)
                                          )
_________________________________________ )

    EMERGENCY MOTION OF DEBTORS FOR ENTRY OF INTERIM AND FINAL
    ORDERS ESTABLISHING NOTIFICATION PROCEDURES AND APPROVING
      RESTRICTIONS ON CERTAIN TRANSFERS OF CLAIMS AGAINST AND
                 INTERESTS IN THE DEBTORS’ ESTATES

        EMERGENCY RELIEF HAS BEEN REQUESTED. A HEARING WILL BE
        CONDUCTED ON THIS MATTER ON NOVEMBER 13, 2019 AT 2:30 PM IN
        COURTROOM 400, 4TH FLOOR, 515 RUSK STREET, HOUSTON, TEXAS 77002. IF
        YOU OBJECT TO THE RELIEF REQUESTED OR YOU BELIEVE THAT
        EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU MUST EITHER
        APPEAR AT THE HEARING OR FILE A WRITTEN RESPONSE PRIOR TO THE
        HEARING. OTHERWISE, THE COURT MAY TREAT THE PLEADING AS
        UNOPPOSED AND GRANT THE RELIEF REQUESTED.

        RELIEF IS REQUESTED NOT LATER THAN NOVEMBER 13, 2019.




        1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty,
LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean
Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean
Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC
(7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896);
Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest
Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
(7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039);
Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan,
LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
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       Southern Foods Group, LLC, Dean Foods Company, and certain of their affiliates

(collectively, the “Debtors”), each of which is a debtor and debtor in possession in the above-

captioned chapter 11 cases (the “Chapter 11 Cases”), hereby file this Emergency Motion of

Debtors for Entry of Interim and Final Orders Establishing Notification Procedures and

Approving Restrictions on Certain Transfers of Claims Against and Interests in the Debtors’

Estates (this “Motion”). This Motion is supported by the Declaration of Gary Rahlfs in Support

of Debtors’ Chapter 11 Proceedings and First Day Pleadings (the “Rahlfs Declaration”) filed

contemporaneously herewith. In further support of this Motion, the Debtors respectfully state as

follows:

                                                Relief Requested

       1.         By this Motion, and pursuant to sections 105(a) and 362 of title 11 of the United

States Code (the “Bankruptcy Code”) and Rules 6003 and 6004 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) the Debtors seek entry of interim and final

orders (the “Proposed Orders” and, if entered, the “Orders”) to enforce the automatic stay by

implementing court-ordered procedures (the “Procedures”) intended to protect the Debtors’

estates against the possible loss of valuable tax assets that could flow from inadvertent stay

violations.      The Proposed Orders authorize the Debtors to (a) establish and implement

restrictions and notification requirements regarding the Tax Ownership and certain transfers of

Stock, (b) establish “sell-down” procedures with respect to Covered Claims that could be

implemented if the Debtors elect to reorganize, and (c) notify holders of Stock and Covered

Claims of the Procedures.2 The Debtors also seek approval of the form of notice attached hereto

as Exhibit 1, which will notify holders of Stock and Covered Claims whose actions could


       2
           Some definitions are set forth in Paragraph 15(l) below.



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adversely affect the Debtors’ tax assets that the Procedures have been established by order of this

Court.

                              Jurisdiction, Venue, and Authority

         2.    The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334 and the Order of

Reference to Bankruptcy Judges, General Order 2012-6 (S.D. Tex. May 24, 2012) (Hinojosa,

C.J.).

         3.    This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). In

addition, the Debtors confirm their consent, pursuant to Bankruptcy Rule 7008 and Rule 7008-1

of the Bankruptcy Local Rules for the United States Bankruptcy Court for the Southern District

of Texas (the “Local Rules”), to the entry of a final order by the Court in connection with this

Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution. Venue of the Chapter 11 Cases and related proceedings is proper in

this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          Background

         4.    On the date hereof, (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtors have continued in

possession of their property and have continued to operate and manage their businesses as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request

has been made for the appointment of a trustee or examiner, and no official committee has been

appointed in the Chapter 11 Cases.




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       5.      Contemporaneously herewith, the Debtors have filed a motion requesting the joint

administration of the Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b) and Local Rule

1015-1.

       6.      Additional information about the Debtors’ businesses and affairs, capital structure,

and prepetition indebtedness, and the events leading up to the Petition Date, can be found in the

Rahlfs Declaration, which is incorporated herein by reference.

      The Debtors’ Net Operating Loss and Deferred Interest Expense Carryforwards

       7.      The Debtors file a consolidated U.S. federal income tax return. The Debtors

estimate that, as of September 30, 2019, they had a consolidated net operating loss (“NOL”) for

U.S. federal income tax purposes of approximately $264,477,639 and $93,416,066 of interest

expense deductions that have been deferred under section 163(j) of the Internal Revenue Code

(“Deferred Interest Expense” and, collectively with the NOLs, the “Tax Attributes”). The

Debtors further expect that, in the fourth quarter of the 2019 tax year, they may generate

additional NOLs and Deferred Interest Expense. Because the Internal Revenue Code permits

corporations to carry forward NOLs and Deferred Interest Expense to offset future income, the

Debtors’ consolidated NOL carryforwards and other Tax Attributes are valuable assets of their

estates. See Internal Revenue Code of 1986 (as amended, the “I.R.C.”) §§ 163(j), 172. The

availability of these tax assets during the pendency of the Chapter 11 Cases may prove crucial to

preserving the value of the Debtors’ estates.

       8.      For the reasons discussed below, and consistent with the automatic stay, the

Debtors need the ability to enforce the stay to preclude certain transfers and to monitor and

possibly object to other changes in the ownership of Stock. In addition, if the Debtors elect to

reorganize, the Debtors may need the ability to require creditors who have increased their

positions after the Petition Date to “sell down” to reestablish the status quo among creditors.


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Specifically, trading of Stock and Covered Claims could adversely affect the Debtors’ future

ability to utilize their Tax Attributes and other tax items if:

        (A)     too many 5% or greater blocks of Stock are created through purchases, sales, or

                issuances, or too many shares are added to or sold from such blocks, such that,

                together with the previous trading by 5-percent shareholders during the preceding

                three-year period, an Ownership Change is triggered prior to the consummation of

                a sale under section 363 of the Bankruptcy Code or a confirmed chapter 11 plan

                (as discussed further below) or

        (B)     the Tax Ownership of claims against the Debtors that are currently held by

                “qualified creditors” is transferred, prior to consummation of the plan, such that

                (a) those claims (either alone or when accumulated with other claims currently

                held by a transferee) would be converted under a plan of reorganization into a 5%

                or greater block of the stock of the reorganized Debtors and (b) the sum of all

                such 5% or greater blocks and the blocks of stock of the reorganized Debtors held

                by all nonqualified creditors would represent 50% or more of such stock.

        9.      The use of Tax Attribute carryforwards is subject to certain statutory limitations.

In particular, section 382 of the I.R.C. (“section 382”) limits the ability of a corporation that

experiences an Ownership Change to use its Tax Attributes and certain other tax items to offset

future income.     For purposes of section 382, an “Ownership Change” occurs when the

percentage of a company’s equity held by one or more “5-percent shareholders” (as defined in

section 382 and the Treasury regulations promulgated thereunder) increases by more than 50

percentage points over the lowest percentage of stock owned by those shareholders at any time




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during a three-year rolling period.3 For example, if a 10% shareholder purchased additional

stock and became a 61% shareholder, the percentage of stock owned by five-percent

shareholders would have increased by 51 percentage points, thereby causing an Ownership

Change.

        10.        If a corporation experiences an Ownership Change, section 382 generally limits

the amount of Tax Attributes and certain other tax items that can be utilized in each subsequent

tax period to offset income. Subject to a number of potentially applicable adjustments, this

annual limitation is generally equal to the product of the equity value of the corporation

immediately before the Ownership Change multiplied by a long-term tax-exempt rate prescribed

by the U.S. Treasury (1.68% for an Ownership Change occurring during the month of November

20194). If the Debtors were to undergo an Ownership Change at a time prior to consummation of

a sale under section 363 of the Bankruptcy Code or a chapter 11 plan, the resulting annual

limitation would significantly reduce the ability of the Debtors to shelter current income and

could result in the Debtors’ inability to utilize a substantial portion of their Tax Attributes.

        11.        By contrast, the rules relating to the calculation of the limitations on the use of tax

attributes are more generous, in the context of an Ownership Change that occurs pursuant to a

confirmed chapter 11 plan, particularly where the plan involves the retention or receipt of at least

50% of the stock of the reorganized debtor by shareholders or “qualified creditors.”                           See

I.R.C. § 382(l)(5), (6). Paragraph 12 below discusses the special rule under section 382(l)(5) of

the I.R.C. (“section 382(l)(5)”) that would apply if shareholders and “qualified creditors” of the



        3
         For purposes of section 382, a sale of shares owned by a 5-percent shareholder is treated as increasing the
ownership percentage of other 5-percent shareholders, even if none of the buyers of the shares individually acquires
a 5% block of shares. See Treas. Reg. § 1.382-3(j)(13).
        4
            Rev. Rul. 2019-25, Table 3, 2019-45 IRB 1.



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Debtors receive stock pursuant to the chapter 11 plan of reorganization constituting at least 50%

of the total value and voting power of the Debtors’ stock immediately after the ownership change.

Paragraph 13 below discusses the special rule under section 382(l)(6) of the I.R.C.

(“section 382(l)(6)”) that would apply if the Debtors do not satisfy the eligibility requirements of

section 382(l)(5) or elect out of that provision.

        12.      Under section 382(l)(5), the limitations imposed by section 382 do not apply to a

debtor that undergoes an ownership change as a result of the consummation of a chapter 11 plan

if the plan provides that the Person who owned the debtor’s stock immediately before the

relevant ownership change and/or “qualified creditors” emerge from the reorganization owning

(as a result of their prior ownership of stock or claims that are “qualified indebtedness”) at least

50% of the total value and voting power of the debtor’s stock immediately after the ownership

change. See I.R.C. § 382(l)(5)(A). Qualified creditors are, in general, creditors who (a) held

their claims continuously for at least 18 months at the time the bankruptcy petition is filed or

(b) hold claims incurred in the ordinary course of the debtor’s business and held those claims

continuously since they were incurred. Claims described in the preceding sentence are “qualified

indebtedness.”      See I.R.C. § 382(l)(5)(E); Treas. Reg. § 1.382-9(d)(2).                Importantly, a “de

minimis” rule generally provides that a creditor that does not meet either of the foregoing

requirements for the sole reason that its claim was not held continuously for a sufficient period

may still be considered a qualified creditor if that creditor will directly or indirectly own less

than 5% of the reorganized debtor’s equity immediately after the ownership change.5 See Treas.

Reg. § 1.382-9(d)(3).



        5
          This de minimis rule does not apply to claims beneficially owned by a person whose participation in
formulating a chapter 11 plan makes evident to the debtor (whether or not the debtor had previous knowledge) that
the person has not owned the claim for the requisite 18-month period. In that event, in order for the person to be


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        13.      The Debtors seek to avoid an Ownership Change for purposes of section 382

before a sale of the Debtors’ assets under section 363 of the Bankruptcy Code can be

consummated. If the Debtors elect to reorganize, the Debtors expect to undergo an ownership

change upon emergence from chapter 11. In that case, the Debtors may seek to avail themselves

of the special relief afforded by section 382(l)(5) for changes in ownership under a confirmed

chapter 11 plan. However, if the relief requested herein is not granted, there is a significant risk

that, as a result of trading in interests in the Debtors, the Debtors could undergo an ownership

change before a sale of the Debtors’ assets under section 363 of the Bankruptcy Code can be

completed, and that pre-consummation trading and accumulations of claims against the Debtors

could preclude availability of the special relief of section 382(l)(5) to the Debtors and the use of

the Debtors’ tax assets could be permanently impaired. Even if the Debtors are ultimately unable

to satisfy the requirements of section 382(l)(5), or if they were to determine that it is more

advantageous to elect not to accept its benefits, it would still be in the best interest of the Debtors

and their estates to restrict Stock trading that could result in a change of ownership of the

Debtors before the consummation of a sale under section 363 of the Bankruptcy Code or

confirmation of a chapter 11 plan.6 Furthermore, if the Debtors elect to reorganize, the Debtors

will qualify for the favorable valuation rule of section 382(l)(6) only if that Ownership Change

occurs pursuant to the consummation of a chapter 11 plan. Under section 382(l)(6), if the

Debtors experience an Ownership Change pursuant to a confirmed chapter 11 plan and section



treated as a qualified creditor, the debtor must establish that the claim was incurred in the ordinary course of the
debtor’s business and the creditor has held the claim continuously since it was incurred.
        6
           As discussed above, if an Ownership Change occurred before the consummation of a chapter 11 plan, the
limitation under section 382 would be determined based on the equity value of the Debtors immediately before the
Ownership Change. Consequently, the Debtors’ ability to use their Tax Attribute carryforwards could be severely
limited. Accordingly, this Motion proposes restrictions on Stock trading in order to guard against an Ownership
Change and, thereby, to protect a valuable asset of the Debtors’ estates.



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382(l)(5) does not apply (either because the Debtors elect out of that provision or because certain

requirements are not met), the value of the reorganized Debtors’ equity for the purposes of

calculating the limitation under section 382 would reflect the increase in value of the reorganized

Debtors’ equity resulting from the restructuring of creditor claims under the plan. Thus, to the

extent that the value of the reorganized Debtors’ equity is greater as a result of a chapter 11 plan

(compared to the value of the Debtors’ equity prior to the chapter 11 plan), section 382(l)(6)

would provide for a higher annual limitation than would otherwise be obtained under section 382

for an Ownership Change occurring during the time the Debtors are operating under chapter 11.

        14.      With respect to creditor claims, the following proposed procedures and

restrictions implement a so-called “sell-down” approach to protecting these valuable tax assets.

The core idea of the sell-down approach is that claims may be freely accumulated, subject to

applicable law, unless and until the debtor files a disclosure statement for a plan structured to

protect the ability to utilize the section 382(l)(5) regime. At that point, creditors that have

acquired claims in excess of a specified threshold amount subsequent to the petition date and that

would otherwise be entitled to receive more than a specified amount (e.g., 4.75%)7 of the stock

of the reorganized debtor generally may be required to “sell down” their holdings to the extent

necessary to preserve the debtor’s ability to utilize section 382(l)(5).8



        7
          The 4.75% number is designed to take advantage of the “de minimis” rule described in Paragraph 12
herein. The Interim Trading Order uses the term “Applicable Percentage” to refer to this number. The reason for
the use of a defined term is that determination of the appropriate number of shares is more complex if the plan of
reorganization contemplates the issuance of more than one class of stock.
        8
           Certain technical mechanics necessary to implement a Sell-Down Order are found in the definitions set
out in Section (k) of Paragraph 1 of the Interim Trading Order (and also in Section (l) of Paragraph 15 herein). In
the event that the issuance of Sell-Down Notices is determined to be necessary, a creditor generally cannot be forced
to reduce its holdings of Covered Claims below either the Threshold Amount or that creditor’s Protected Amount.
The Threshold Amount is a conservative estimate, based on known unsecured claims, that is calculated with a view
to allowing a holder of Covered Claims subject to the “de minimis” rule described in Paragraph 12 herein to trade
such Covered Claims without potentially becoming subject to a Sell-Down Order. A creditor’s Protected Amount is
generally the amount of Covered Claims it held as of the Effective Time, with certain modifications. One potential


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                                   Proposed Procedures and Restrictions

         15.      In light of the above, the Debtors seek to implement the following procedures and

restrictions:

         (a)      Notice.

         (i)      Within five business days after the Court’s entry of the Interim Trading Order, the

Debtors propose to provide a notice describing the authorized trading restrictions and notification

requirements, substantially in the form attached as Exhibit 1 to the Motion, to (A) the Office of

the United States Trustee for the Southern District of Texas (the “U.S. Trustee”), (B) each of the

Debtors’ 30 largest unsecured creditors on a consolidated basis, (C) the United States Securities

and Exchange Commission, (D) the Internal Revenue Service, (E) any identified Substantial

Equityholders and Substantial Claimholders, (F) counsel to the administrative agent under the

Debtors’ proposed post-petition financing facility, and (G) counsel for the Creditors’ Committee.

Upon receipt of such notice, counsel for the Creditors’ Committee shall send such notice to their

respective committee members. Upon receipt of such notice and at least once every three

months during the pendency of the Chapter 11 Cases, all indenture trustees and transfer agents

shall send the notice to all holders of Covered Claims of more than $5,000,000 or at least

4,364,505 shares of Stock, as applicable, registered with the indenture trustee or transfer agent.



exception arises in the case of a creditor that violates the Participation Restriction set out in Section (c) of Paragraph
1 of the Interim Trading Order (and also in Section 1(c) of Paragraph 15 herein). The Participation Restriction
prohibits a creditor that participates in the formulation of a plan of reorganization from doing so in a manner that
makes evident to the Debtors that the creditor holds claims that are neither “old and cold” nor “ordinary
course.” Under applicable Treasury regulations, this conduct precludes such claims from qualifying for the “de
minimis” exception while held by such creditor. Thus, a violation of the Participation Restriction undermines the
Debtors’ ability to implement a 382(l)(5) Plan. A creditor found by the Court to have violated the Participation
Exemption will be required to dispose of its claims to the extent necessary to protect the Debtors’ ability to effect
the successful implementation of a 382(l)(5) Plan. Prior to seeking to enforce such a remedy, the Debtors must
consult with counsel for any official committee appointed in the Chapter 11 Cases (if and when appointed, the
“Creditors’ Committee”) and counsel to the administrative agent under the Debtors’ proposed post-petition
financing facility.



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Any registered holder shall, in turn, provide the notice to any holder for whose account the

registered holder holds Covered Claims of more than $5,000,000 or at least 4,364,505 shares of

Stock, as applicable. Any such holder shall, in turn, provide the notice to any Person for whom

the holder holds Covered Claims of more than $5,000,000 or at least 4,364,505 shares of Stock,

as applicable. Any Person, or Agent acting on such Person’s behalf, that sells Covered Claims in

the aggregate amount of $5,000,000 or sells an aggregate amount of at least 4,364,505 shares of

Stock (or an option with respect thereto) to another Person (other than pursuant to a transaction

consummated on the New York Stock Exchange) shall provide a copy of the notice to such

purchaser or to any Agent acting on such purchaser’s behalf.

       (ii)    Within five business days of the Effective Time, and at least once every three

months during the pendency of the Chapter 11 Cases, all indenture trustees and transfer agents

shall also send such notice to all holders of Covered Claims of more than $5,000,000 or at least

4,364,505 shares of Stock, as applicable. The Debtors shall also send such notice to all holders

of Stock registered directly with any transfer agent.

       (iii)   Within five business days after receipt of such notice, any holder registered

directly with any transfer agent who is a broker, bank, dealer, or other agent or nominee (each a

“Nominee”) shall, in turn, provide the notice to any holder for whose account the registered

holder holds Covered Claims of more than $5,000,000 or at least 4,364,505 shares of Stock.

Any such holder shall, in turn, provide the notice to any Person for whom the holder holds more

than $5,000,000 or at least 4,364,505 shares of Stock, and, in the holder’s discretion, may

provide the notice to additional Persons for whom the holder holds any Stock. Any Person, or

Agent acting on such Person’s behalf, that sells Covered Claims in the aggregate amount of

$5,000,000 or sells an aggregate amount of at least 4,364,505 shares of Stock (or an option with




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respect thereto) to another Person (other than pursuant to a transaction consummated on the New

York Stock Exchange) shall provide a copy of the notice to such purchaser or to any Agent

acting on such purchaser’s behalf.

       (b)     Notice of Substantial Equityholder Status. Any Person who is or becomes a Tax

Owner of at least 4,364,505 shares, which represent approximately 4.75% of the issued and

outstanding Stock as of the Petition Date (a “Substantial Equityholder”), must, on or before the

later of (i) 15 days after service of a notice substantially in the form attached to the Motion as

Exhibit 1 or (ii) ten days after that Person becomes a Substantial Equityholder, serve on the

Debtors, the Debtors’ counsel, counsel to the administrative agent under the Debtors’ proposed

post-petition financing facility, and counsel for the Creditors’ Committee, a notice (the

“Substantial Equityholder Notice”) containing the Tax Ownership information substantially in

the form of Exhibit 2 attached to the Motion.

       (c)     Restrictions and Procedures for Trading in Stock. Any Person that, after the

Effective Time,

       (i)     is not a Substantial Equityholder and wishes to purchase or otherwise acquire Tax

               Ownership of an amount of Stock that would cause the Person to become a

               Substantial Equityholder,

       (ii)    is a Substantial Equityholder and wishes to purchase or otherwise acquire Tax

               Ownership of any additional Stock, or

       (iii)   is a Substantial Equityholder and wishes to sell or otherwise dispose of Tax

               Ownership of any Stock,

must, prior to the consummation of any such transaction, file with the Court (at the Person’s

election, in a redacted form that does not include the aggregate principal amount of Stock that




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such Person beneficially owns), and serve on the Debtors, the Debtors’ counsel, counsel to the

administrative agent under the Debtors’ proposed post-petition financing facility, and counsel for

the Creditors’ Committee, an unredacted notice in the form attached to the Motion as Exhibit 3,

in the case of a proposed acquisition of Stock, or Exhibit 4, in the case of a proposed disposition

of Stock (either such notice, a “Proposed Stock Transaction Notice”).          The Debtors shall

consult with counsel to the administrative agent under the Debtors’ proposed post-petition

financing facility and counsel for the Creditors’ Committee prior to responding to any Proposed

Stock Transaction Notice. If written approval of the proposed transaction is filed with the Court

by the Debtors within 15 calendar days following the receipt of a Proposed Stock Transaction

Notice, the transaction may proceed. If written approval of the proposed transaction is not filed

by the Debtors with the Court within such period, the transaction may not be consummated

unless approved by a final and nonappealable order of the Court. Further transactions within the

scope of this Section (c) must be the subject of additional notices as set forth herein with

additional waiting periods.

       (d)     Restrictions and Procedures for Trading in Covered Claims.

       (i)     Any Person that, after the Effective Time,

       (A)     is not a Substantial Claimholder and purchases or otherwise acquires Tax

               Ownership of an amount of Covered Claims that causes the Person to become a

               Substantial Claimholder or

       (B)     is a Substantial Claimholder and purchases or otherwise acquires Tax Ownership

               of any additional Covered Claims,

will have an obligation, in the event that the Debtor elects to reorganize under a 382(l)(5) Plan

and the Court issues a Sell-Down Order at the request of the Debtors pursuant to Section (e) of




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this Paragraph 15, to sell or otherwise transfer Tax Ownership of an aggregate amount of

Covered Claims sufficient to prevent such Person from having Tax Ownership of an amount of

the reorganized Debtors’ stock as a result of the implementation of a 382(l)(5) Plan that exceeds

the greater of (1) the Applicable Percentage or (2) the percentage specified in the Sell-Down

Notice applicable to such Person pursuant to Section (e) of this Paragraph 15; provided, however,

that such Person shall not be required to make any sale or other transfer of Tax Ownership of

Covered Claims that would result in such Person having Tax Ownership of an aggregate amount

of Covered Claims that is less than either (Y) the Threshold Amount, as revised from time to

time or (Z) such Person’s Protected Amount.

       (ii)    Any Person that participates in formulating any chapter 11 plan of reorganization

of or on behalf of the Debtors (which shall include, without limitation, making any suggestions

or proposals to the Debtors or their advisers with regard to such a plan) shall not do so in a

manner that makes evident to the Debtors that any Covered Claims of which such Person has

Tax Ownership are Newly Traded Covered Claims (the “Participation Restriction”). For this

purpose, the Debtors acknowledge and agree that the following activities alone shall not

constitute a violation of the Participation Restriction: filing an objection to a proposed disclosure

statement or to confirmation of a proposed plan of reorganization; voting to accept or reject a

proposed plan of reorganization; reviewing or commenting on a proposed business plan;

membership on a Creditors’ Committee or an ad hoc Committee; and taking any action required

by the Interim Trading Order or the Final Trading Order, as applicable. Any Person found by the

Court to have violated the Participation Restriction shall be required to dispose of Newly Traded

Covered Claims of which such Person has Tax Ownership (subject to the Equity Forfeiture

Provision described in Section (f) of this Paragraph 15) to the extent necessary to protect the




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Debtors’ ability to effect successful implementation of a 382(l)(5) Plan. For the avoidance of

doubt, (A) such Person shall not be permitted to retain Tax Ownership of any Newly Traded

Covered Claims if a Sell-Down Order has been or is subsequently issued pursuant to Section

(e)(ii) of this Paragraph 15 and (B) if a Claims Trading Notice Order has been issued pursuant to

Section (e)(v) below of this Paragraph 15, such Person shall only be permitted to retain Tax

Ownership of Newly Traded Covered Claims to the extent that such retention would not impair

the reasonable “cushions” referred to in Section (e)(ii) of this Paragraph 15. Prior to taking any

action to enforce the foregoing two sentences, the Debtors shall consult with counsel to the

administrative agent under the Debtors’ proposed post-petition financing facility and counsel for

the Creditors’ Committee.

       (e)     Sell-Down Procedures.

       (i)     Reporting of Substantial Claimholder Status. In order to assess the feasibility of

implementing a 382(l)(5) Plan and the need for petitioning the Court for a Sell-Down Order, the

Debtors, after consultation with counsel to the administrative agent under the Debtors’ proposed

post-petition financing facility and counsel for the Creditors’ Committee, may file with the Court

and further publish and serve in the manner specified in Section (i) of this Paragraph 15 a notice

(the “Reporting Notice”) requiring each Substantial Claimholder, within 30 calendar days of the

Debtors’ filing of the Reporting Notice with the Court, to serve on the Debtors, their counsel,

counsel to the administrative agent under the Debtors’ proposed post-petition financing facility,

and counsel for the Creditors’ Committee, a notice in the form attached to the Motion as Exhibit

5 (a “Substantial Claimholder Notice”). A Person that is uncertain whether it is a Substantial

Claimholder may serve a Substantial Claimholder Notice in the manner described above in order

to preserve its rights under the Interim Trading Order or the Final Trading Order, as applicable.




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A Person serving a Substantial Claimholder Notice in the manner described above shall not be

required to file the Substantial Claimholder Notice with the Court. For the avoidance of doubt,

the Debtors will not be precluded from filing more than one Reporting Notice pursuant to this

subsection (e)(i).

       (ii)    Petition for Sell-Down Order and Notification Procedures. If the Debtor elects to

reorganize, then after filing a 382(l)(5) Plan and Disclosure Statement with respect thereto with

the Court, but no later than the expiration of the 75-day period beginning with the date on which

the Debtors file a Reporting Notice with the Court, the Debtors may, in consultation with counsel

to the administrative agent under the Debtors’ proposed post-petition financing facility and

counsel for the Creditors’ Committee, file a motion with the Court for the issuance of an order

(the “Sell-Down Order”) that (A) authorizes the Debtors to issue Sell-Down Notices to each

Person that has timely filed a Substantial Claimholder Notice showing Tax Ownership of

Covered Claims that, pursuant to the terms of the 382(l)(5) Plan (and prior to giving effect to the

Sell-Down Order), would entitle such Person to acquire Tax Ownership of more than the

Applicable      Percentage    of     the    equity    of     the    reorganized     Debtors      (a

“Potentially Substantial New Equityholder”) and (B) provides that any Person other than a

Potentially Substantial New Equityholder shall not be entitled to acquire Tax Ownership of more

than the Applicable Percentage of the equity of the reorganized Debtors (or consideration in lieu

thereof) if the 382(l)(5) Plan is consummated. The motion for a Sell-Down Order shall be

published and served in the manner described in Section (e) of this Paragraph 15.             Each

Potentially Substantial New Equityholder shall be served with a copy of the motion and the Sell-

Down Notice applicable to such Person. Counsel for the Creditors’ Committee and counsel to

the administrative agent under the Debtors’ proposed post-petition financing facility shall be




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served with a copy of the motion and all Sell-Down Notices. For the avoidance of doubt, the

Debtors will not be precluded from filing more than one motion for the issuance of a Sell-Down

Order pursuant to this subsection (e)(ii).

       Each Sell-Down Notice shall indicate (A) the Debtors’ calculation of the percentage of

the equity of the reorganized Debtors of which the Potentially Substantial New Equityholder

would otherwise acquire Tax Ownership under the terms of the 382(l)(5) Plan, based on the

Substantial Claimholder Notice filed by such person (such person’s “Preliminary Percentage”),

and (B) the percentage of equity of the reorganized Debtors of which such person will be

permitted to acquire Tax Ownership under the 382(l)(5) Plan, based on a proportionate reduction

to the Preliminary Percentage of each Potentially Substantial New Equityholder (except to the

extent that the Debtors determine that such a reduction would result in the requirement that a

Potentially Substantial New Equityholder sell or otherwise transfer Covered Claims that are not

Newly Traded Covered Claims). For instance, if Potentially Substantial New Equityholders are

required to reduce their Preliminary Percentage by 20%, a Potentially Substantial New

Equityholder whose Preliminary Percentage was 15% generally would be required to sell

Covered Claims such that it would be entitled to receive no more than 12% of the equity of the

reorganized Debtors under the 382(l)(5) Plan. If a Potentially Substantial New Equityholder

holds more than one category of Covered Claims, the category or categories of Covered Claims

to be sold in order to comply with the Sell-Down Notice will be left to the discretion of the

Potentially Substantial New Equityholder.

       (iii)   Procedures for Objection to a Sell-Down Notice. A Potentially Substantial New

Equityholder in receipt of a Sell-Down Notice will be permitted to object on any one or more of

the following grounds: (A) the Sell-Down Notice applicable to it contains a mathematical error




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and (B) compliance with the Sell-Down Notice applicable to it would require the Potentially

Substantial New Equityholder to (1) reduce its Tax Ownership of Covered Claims below the

Threshold Amount (so long as it has complied and continues to comply with the Participation

Restriction) or below its Protected Amount or (2) transfer Tax Ownership of Covered Claims

that are not Newly Traded Covered Claims.         If an objection is filed, the Debtors will be

permitted to serve new Sell-Down Notices in their discretion.

       Unless the Court determines otherwise for good cause shown, a Sell-Down Order and the

related Sell-Down Notices will remain effective notwithstanding amendments to the 382(l)(5)

Plan; provided, however, that if the Debtors withdraw the 382(l)(5) Plan, the Sell-Down Notices

will have no further effect.

       (iv)    Procedures for Implementing a Sell-Down Order.         Each transfer of Covered

Claims required by a final Sell-Down Notice shall occur prior to the later of (A) the date that is

ten calendar days after the date of confirmation of the 382(l)(5) Plan, (B) the date that is 30

calendar days after receipt of the Sell-Down Notice and (C) the date specified in all of the Sell-

Down Notices.

       Once a Potentially Substantial New Equityholder has transferred its Covered Claims in

accordance with the preceding paragraph, such Person (A) shall, no later than one business day

following the latest date for completing such transfer in accordance with the preceding paragraph,

serve on the Debtors, their counsel, counsel to the administrative agent under the Debtors’

proposed post-petition financing facility, and counsel for the Creditors’ Committee, a notice in

the form attached to the Motion as Exhibit 6 (a “Notice of Completed Sell Down”) and

(B) under no circumstances, shall acquire additional Covered Claims in a manner that would

increase the amount of the reorganized Debtors’ equity to which such Person would be entitled




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pursuant to the implementation of the 382(l)(5) Plan above the percentage specified in the Sell-

Down Notice applicable to such Person.

       (v)     Procedure If No Sell-Down Notices Are Required. If the Debtors determine,

based on the Substantial Claimholder Notices filed in response to the Reporting Notice, that no

Sell-Down Notices appear necessary in order to implement the 382(l)(5) Plan, the Debtors may

move the Court for an order requiring advance notice of certain acquisitions of Covered Claims

(the “Claims Trading Notice Order”). Under the Claims Trading Notice Order,

       (A)     any Potentially Substantial New Equityholder proposing to acquire Covered

               Claims in a transaction following which such Person would have Tax Ownership

               of Covered Claims that, pursuant to the terms of the 382(l)(5) Plan, would entitle

               such Person to receive equity of the reorganized Debtors in excess of the amount

               of equity to which such Person would have been entitled based on the holdings

               reported on such Person’s Substantial Claimholder Notice, and

       (B)     any Person that would become a Potentially Substantial New Equityholder by

               virtue of a proposed acquisition of Covered Claims,

will be required, prior to the consummation of any such transaction, to serve on the Debtors,

their counsel, counsel to the administrative agent under the Debtors’ proposed post-petition

financing facility, and counsel for the Creditors’ Committee, a notice in the form attached hereto

as Exhibit 7 (a “Proposed Covered Claim Transaction Notice”).              The same procedures

applicable to a Proposed Stock Transaction Notice (described in Section (b) of this Paragraph 15)

will apply with respect to a Proposed Covered Claim Transaction Notice. If the Debtors do not

give written consent to the proposed transaction, and the Person that has delivered the Proposed




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Covered Claim Transaction Notice requests a hearing, the procedures described in Section

15(e)(iii) of this Paragraph 15 will apply.

       In addition, the Claims Trading Notice Order will require any Person that has acquired

Tax Ownership of Covered Claims for which it did not file a Substantial Claimholder Notice and

as to which a motion would have been required under the preceding paragraph, but for the fact

that such acquisition occurred prior to the entry of the Claims Trading Notice Order, to serve

notice of such fact on the Debtors, their counsel, counsel to the administrative agent under the

Debtors’ proposed post-petition financing facility, and counsel for the Creditors’ Committee,

within 15 calendar days of the entry of the Claims Trading Notice Order. If the Debtors

determine that the retention by such Person of such Covered Claims could jeopardize the

implementation of the 382(l)(5) Plan, they will serve a Sell-Down Notice on such Person, in

which case the procedures described in this Section (e) will apply.

       (f)     Confidentiality. The Debtors, the Debtors’ counsel, counsel to the administrative

agent under the Debtors’ proposed post-petition financing facility, and counsel for the Creditors’

Committee shall keep all information provided in all notices delivered pursuant to the Interim

Trading Order or Final Trading Order, as applicable, strictly confidential and shall not disclose

the contents thereof to any person (including any lender or any member of any Creditors’

Committee), except (i) to the extent necessary to respond to a petition or objection filed with the

Court, (ii) to the extent otherwise required by law, or (iii) to the extent that the information

contained therein is already public; provided, however, that the Debtors may disclose the

contents thereof to their professional financial advisers, who shall keep all such notices strictly

confidential and shall not disclose the contents thereof to any other person, subject to further

Court order. To the extent that confidential information is necessary to respond to a petition or




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objection filed with the Court, such confidential information shall be filed under seal or in

redacted form. For the avoidance of doubt, the foregoing provisions shall not preclude the

Debtors from including in their unredacted, unsealed filings with the Court summary information

regarding the amount of equity of the reorganized Debtors that Potentially Substantial New

Equityholders (not identified by name or otherwise) would be expected to receive under the

terms of the 382(l)(5) Plan before and after the implementation of the Sell-Down Order.

       (g)     Sanctions for Noncompliance.

       (i)     Sanctions for Noncompliance Relating to Stock. Acquisitions and dispositions of

Tax Ownership of Stock in violation of the Procedures set forth in Section (c) of this Paragraph

15 shall be void ab initio, and the sanction for violating Section (c) of this Paragraph 15 shall be

reversal of the noncompliant transaction or such other (or additional) measures as the Court may

consider appropriate. Until the Court enters a final order, any acquisition or disposition of Tax

Ownership of Stock after the Petition Date in violation of the Procedures set forth above shall be

null and void ab initio as an act in violation of the automatic stay prescribed by section 362 of

the Bankruptcy Code and pursuant to the Court’s equitable power prescribed in section 105(a) of

the Bankruptcy Code.

       (ii)    Noncompliance Relating to a Sell-Down Notice or a Claims Trading Notice

Order. In the event that any Person fails to comply with a final Sell-Down Notice applicable to

it, such Person shall not be entitled to acquire Tax Ownership of any equity of the reorganized

Debtors (or consideration in lieu thereof) in connection with the implementation of the 382(l)(5)

Plan in excess of the greater of (A) the Applicable Percentage (which, only with respect to such

Person, shall be deemed to be zero unless such Person has complied and continues to comply

with the Participation Restriction) or (B) the percent specified on such Sell-Down Notice. Any




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Person that did not file a Substantial Claimholder Notice shall not be entitled to acquire Tax

Ownership of any equity of the reorganized Debtors (or consideration in lieu thereof) in excess

of the Applicable Percentage in connection with the implementation of the 382(l)(5) Plan. Any

Person that acquires Covered Claims in violation of a Sell-Down Order or a Claims Trading

Notice Order shall not be entitled to acquire Tax Ownership of any equity of the reorganized

Debtors (or consideration in lieu thereof) in connection with the implementation of the 382(l)(5)

Plan in excess of the percentage of equity to which such Person would have been entitled had it

not acquired such Covered Claims.           The foregoing sanctions (the “Equity Forfeiture

Provisions”) shall be effective without any further order of the Court. Any purported acquisition

of Tax Ownership of stock of the reorganized Debtors pursuant to the implementation of the

382(l)(5) Plan that is precluded by the Equity Forfeiture Provisions (such stock, the

“Forfeited Equity”) shall be void ab initio. Any Person that receives Forfeited Equity shall,

immediately upon becoming aware of such fact, return such Forfeited Equity to the Debtors or, if

all of the shares properly issued to such Person and all or any portion of such Forfeited Equity

have been sold prior to the time such Person becomes aware of such fact, such Person shall

return to the Debtors (Y) any Forfeited Equity still held by such Person and (Z) the proceeds

attributable to the sale of Forfeited Equity, calculated by treating the most recently sold shares as

Forfeited Equity. Any Person that receives Forfeited Equity and deliberately fails to comply

with the preceding sentence shall be subject to such additional sanctions as the Court may

determine. In no event, however, shall an acquisition or disposition of Tax Ownership of

Covered Claims be rendered void or unenforceable by reason of the Interim Trading Order or the

Final Trading Order, as applicable.




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       (h)     Discretionary Waiver by Debtors. The Debtors may, in their sole discretion,

waive, in writing, any sanctions, remedies, or notification procedures imposed by the Interim

Trading Order or the Final Trading Order, as applicable.

       (i)     Notice Procedures. If the Debtors file a Reporting Notice, a motion for a Sell-

Down Order or a change to the definition of the term “Threshold Amount” with the Court, within

five business days of such filing, the Debtors shall (i) submit a notice of the filing for publication

on the Bloomberg newswire service and the Depository Trust Company Legal Notice System

(also known as LENS), (ii) post such notice together with a copy of the filing on the case

information website (https://dm.epiq11.com/SouthernFoods) and (iii) serve such notice of the

filing on (a) the U.S. Trustee, (b) each of the Debtors’ 30 largest unsecured creditors on a

consolidated basis, (c) all indenture trustees or transfer agents for the Covered Claims or Stock,

as applicable, (d) counsel to the administrative agent under the Debtors’ proposed post-petition

financing facility, (e) counsel for the Creditors’ Committee, (f) any identified Substantial

Equityholders and Substantial Claimholders, (g) the Internal Revenue Service, (h) the Securities

and Exchange Commission, (i) the United States Environmental Protection Agency, and (j) the

United States Attorney’s Office for the Southern District of Texas. Upon receipt of such notice,

counsel for the Creditors’ Committee shall send such notice to their respective members of the

Creditors’ Committee. Upon receipt of such notice, and at least once every three months during

the pendency of the Chapter 11 Cases, all indenture trustees and transfer agents shall send the

notice to all holders of Covered Claims of more than $5,000,000 or at least 4,364,505 shares of

Stock, as applicable, registered with the indenture trustee or transfer agent. Any registered

holder shall, in turn, provide the notice to any holder for whose account the registered holder

holds Covered Claims of more than $5,000,000 or at least 4,364,505 shares of Stock, as




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applicable. Any such holder shall, in turn, provide the notice to any Person for whom the holder

holds Covered Claims of more than $5,000,000 or at least 4,364,505 shares of Stock, as

applicable. Any Person, or broker or agent acting on such Person’s behalf, that sells Covered

Claims in the aggregate amount of $5,000,000 or sells an aggregate amount of at least 4,364,505

shares of Stock (or an option with respect thereto) to another Person (other than pursuant to a

transaction consummated on the New York Stock Exchange) shall provide a copy of the notice

to such purchaser or to any broker or agent acting on such purchaser’s behalf.

       (j)     Continued Compliance with Other Applicable Laws and Rules. The requirements

set forth in the Interim Trading Order or Final Trading Order, as applicable, are in addition to the

requirements of Bankruptcy Rule 3001(e) and applicable securities, corporate, and other laws,

and do not excuse compliance therewith.

       (k)     Special Rules. A Person acquiring or disposing of Tax Ownership of Stock or

Covered Claims in the capacity of Agent of another Person shall not be treated as a Substantial

Equityholder or Substantial Claimholder solely to the extent acting in the capacity of Agent, and

shall not have an affirmative duty to inquire whether the account, customer, investment fund,

principal, trust, or beneficiary is subject to any restrictions or requirements under the Interim

Trading Order or the Final Trading Order, as applicable; provided, however, that the account,

customer, investment fund, principal, trust, or beneficiary shall not be excluded from the Interim

Trading Order or the Final Trading Order, as applicable, by reason of this Section (k).

Specifically and for the avoidance of doubt, the trustee of any trust, any indenture trustee, owner

trustee, pass-through trustee, subordination agent, registrar, paying agent, or transfer agent, in

each case for any ownership interests, bonds, debentures, or other debt securities (collectively,

“Debt Securities”), (i) issued by any of the Debtors, (ii) issued by any governmental or quasi-




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governmental authority for the benefit of any of the Debtors, (iii) secured by assets of any of the

Debtors or agreements with respect to such assets, or (iv) secured by assets leased to any of the

Debtors (any such person, an “Indenture Trustee”), shall not be treated as a Substantial

Claimholder solely to the extent acting in the capacity described above; provided, however, that

neither any transferee of Covered Claims nor any Person for whom an Indenture Trustee acts

shall be excluded solely by reason of this provision.

       (l)     Definitions.

       For purposes of this Motion:

               “382(l)(5) Plan” means a plan of reorganization for the Debtors under chapter 11
       of the Bankruptcy Code (i) pursuant to which there is a reasonable possibility that section
       382(l)(5) will be utilized and (ii) which provides that transfers of Tax Ownership of the
       reorganized Debtors’ equity will be subject to reasonable restrictions for not less than two
       years after the reorganization.

               “Agent” means a broker, account manager, agent, custodian, nominee, prime
       broker, clearinghouse, or trustee (but not including a trustee qualified under section 401(a)
       of the I.R.C.).

               “Applicable Percentage” means, if only one class of common equity of the
       reorganized Debtors is to be issued pursuant to the terms of a 382(l)(5) Plan, 4.75% of the
       number of such shares that the Debtors reasonably estimate will be issued at the effective
       time of such 382(l)(5) Plan. If more than one class of equity of the reorganized Debtors
       is to be distributed pursuant to the terms of a 382(l)(5) Plan, the Applicable Percentage
       shall be determined by the Debtors in their reasonable judgment in a manner consistent
       with the estimated range of values for the equity to be distributed reflected in the
       valuation analysis set forth in the Disclosure Statement, and shall be expressed in a
       manner that makes clear how many shares of common equity would constitute the
       Applicable Percentage.

               “Bankruptcy Code” has the meaning given in Paragraph 1 of the Motion.

               “Bankruptcy Rules” has the meaning given in Paragraph 1 of the Motion.

               “Chapter 11 Cases” has the meaning given in the preamble to the Motion.

              “Claims Trading Notice Order” has the meaning given in Section (e)(v) of this
       Paragraph 15.




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       “Covered Claims” means any claims within the meaning of section 101(5) of the
Bankruptcy Code against one or more Debtors that are not first priority claims; provided
that

(i)    if a holder of a claim is uncertain as to the extent to which such claim is a first
       priority claim, such holder may serve upon the Debtors and Debtors’ counsel,
       written notice of the requesting holder’s uncertainty along with a description of
       the underlying claim and, within ten calendar days after actual receipt of such
       notice, the Debtors shall, in consultation with the requesting holder, reasonably
       determine, solely for purposes of the Interim Trading Order or the Final Trading
       Order, as applicable, the portion of the applicable claim at such time that is a first
       priority claim, and

(ii)   if a holder of claims is uncertain as to the extent to which the Interim Trading
       Order or the Final Trading Order, as applicable, applies to it, it can consult with
       counsel to the administrative agent under the Debtors’ proposed post-petition
       financing facility or counsel for the Creditors’ Committee.

       For purposes of clause (i), the Debtors’ determination is not binding on the
holders and shall not preclude a holder from seeking a determination from the Court.

      “Creditors’ Committee” means the official committee of unsecured creditors if
and when appointed in the Chapter 11 Cases.

       “Debtors” has the meaning given in the preamble to the Motion.

       “Debt Securities” has the meaning given in Section (k) of this Paragraph 15.

      “Deferred Interest Expense” has the meaning given in Paragraph 7 of the
Motion.

        “Disclosure Statement” means a disclosure statement filed with the Court
relating to a proposed plan of reorganization for the Debtors under chapter 11.

       “Effective Time” means the time of effectiveness of the Interim Trading Order or
the Final Trading Order, as applicable.

       “Equity Forfeiture Provisions” has the meaning given in Section (g)(ii) of this
Paragraph 15.

        “Final Trading Order” means the Final Order Establishing Notification
Procedures and Approving Restrictions on Certain Transfers of Claims Against and
Interests in the Debtors’ Estates in the form attached hereto.

       “Forfeited Equity” has the meaning given in Section (g)(ii) of this Paragraph 15.

       “Indenture Trustee” has the meaning given in Section (k) of this Paragraph 15.



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        “Interim Trading Order” means the Interim Order Establishing Notification
Procedures and Approving Restrictions on Certain Transfers of Claims Against and
Interests in the Debtors’ Estates in the form attached to the Motion.

      “Internal Revenue Code” means the Internal Revenue Code of 1986, as
amended.

       “Local Rules” has the meaning given in Paragraph Error! Reference source not
found. of the Motion.

       “Motion” has the meaning given in the preamble hereof.

        “Newly Traded Covered Claims” means Covered Claims (i) of which a Person
acquired Tax Ownership after the date that was 18 months before the Petition Date and (ii)
that are not “ordinary course” claims, within the meaning of section 1.382-9(d)(2)(iv) of
the Treasury regulations, of which the same Person has always had Tax Ownership. For
the avoidance of doubt, a transferee will be deemed to have owned such Covered Claims
for the period that such Covered Claims were owned by the transferor if such Covered
Claims were transferred in a “qualified transfer” within the meaning of section 1.382-
9(d)(5) of the Treasury regulations.

       “NOL” has the meaning given in Paragraph 7 of the Motion.

       “Nominee” has the meaning given in Paragraph 3 of the Motion.

        “Notice of Completed Sell Down” has the meaning given in Section (e)(iv) of
this Paragraph 15.

       “Ownership Change” has the meaning given in Paragraph 9 of the Motion.

       “Participation Restriction” has the meaning given in Section (d)(ii) of this
Paragraph 15.

        “Person” means a person or Entity (as such term is defined in section 1.382-3(a)
of the Treasury regulations).

       “Petition Date” has the meaning given in Paragraph 4 of the Motion.

         “Potentially Substantial New Equityholder” has the meaning given in Section
(e)(ii) of this Paragraph 15.

       “Preliminary Percentage” has the meaning given in Section (e)(ii) of this
Paragraph 15.

       “Procedures” has the meaning given in Paragraph 1 of the Motion.

       “Proposed Covered Claim Transaction Notice” has the meaning given in
Section(e)(v) of this Paragraph 15.



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        “Proposed Stock Transaction Notice” has the meaning given in Section 15(c) of
this Paragraph 15.

       “Proposed Orders” has the meaning given in Paragraph 1 of the Motion.

       “Protected Amount” means the amount of Covered Claims of which a Person
has Tax Ownership at the Effective Time,

       (i)     increased by (A) the amount of Covered Claims of which such Person
               acquires Tax Ownership pursuant to contracts entered into before the
               Effective Time and (B) the amount of Covered Claims of which such
               Person acquires Tax Ownership after the Effective Time pursuant to the
               exercise of rights under a secured debt instrument (including a voluntary
               foreclosure) of which such Person has Tax Ownership before the Effective
               Time, minus the amount of Covered Claims of which such Person disposes
               pursuant to contracts entered into before the Effective Time,

       (ii)    increased by the amount of Covered Claims of which such Person
               acquires Tax Ownership from another Person that are Newly Traded
               Covered Claims in the hands of the transferor, if either

               (A) both the transferor and the transferee are Substantial Claimholders
               immediately before the transfer or

               (B) the transferor is a Substantial Claimholder immediately before the
               transfer and the transferee becomes a Substantial Claimholder as a result
               of the transfer, but the transferor ceases to be a Substantial Claimholder as
               a result of the transfer, and the transferor has complied and continues to
               comply with the Participation Restriction; provided that the transferee’s
               Protected Amount shall only be increased to the extent that the aggregate
               amount of Newly Traded Covered Claims of which the transferor has Tax
               Ownership immediately before the transfer exceeds the aggregate amount
               of Newly Traded Covered Claims of which the transferee has Tax
               Ownership immediately before the transfer, and the transferor has
               complied and continues to comply with the Participation Restriction;

               provided that, in the case of (A) and (B), the transferee’s Protected
               Amount shall only be increased to the extent that (1) the amount
               transferred to the transferee does not exceed the transferor’s Protected
               Amount immediately before the transfer and (2) the transferee can
               demonstrate that the transferor is bound by a written agreement to reduce
               its Protected Amount by a corresponding amount, and

       (iii)   decreased by the amount of Covered Claims held by such Person as of the
               Effective Time that are not Newly Traded Covered Claims in the hands of
               such Person and that are subsequently disposed of by such Person.

       “Rahlfs Declaration” has the meaning given in the preamble to the Motion.


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       “Reporting Notice” has the meaning given in Section 15(e)(i) of this Paragraph
15.

       “section 382” has the meaning given in Paragraph 9 of the Motion.

       “section 382(l)(5)” has the meaning given in Paragraph 11 of the Motion.

       “section 382(l)(6)” has the meaning given in Paragraph 11 of the Motion.

       “Sell-Down Notice” means a notice to a Potentially Substantial New
Equityholder requiring the Potentially Substantial New Equityholder to transfer Covered
Claims in accordance with Sections (d) and (e) of this Paragraph 15.

       “Sell-Down Order” has the meaning given in Section 15(e)(ii) of this Paragraph
15.

       “Stock” means the common stock of Dean Foods Company.

       “Substantial Claimholder” means a Person that has Tax Ownership of an
aggregate amount of Covered Claims, measured where applicable by principal and
accrued interest as of the Petition Date, that equals or exceeds the Threshold Amount (as
determined from time to time).

        “Substantial Claimholder Notice” has the meaning given in Section 15(e)(i) of
this Paragraph 15.

       “Substantial Equityholder” has the meaning given in Section 15(a) of this
Paragraph 15.

        “Substantial Equityholder Notice” has the meaning given in Section 15(a) of
this Paragraph 15.

       “Tax Attribute(s)” has the meaning given in Paragraph 7 of the Motion.

        “Tax Ownership” means beneficial ownership of a Covered Claim or of Stock as
determined in accordance with the applicable rules under section 382 and, to the extent
provided in those rules, shall include, but not be limited to, direct and indirect ownership
(e.g., a holding company would be considered to have Tax Ownership of all shares
owned or acquired by its 100% owned subsidiaries), ownership by members of a person’s
family and Persons acting in concert and, in certain cases, the creation or issuance of an
option (in any form), but only to the extent such option is treated as exercised under
Treasury Regulation section 1.382-4(d). Any variation of the term Tax Ownership shall
have the same meaning. An “option” to acquire stock or claims shall include any
contingent purchase, warrant, convertible debt, put, stock subject to risk of forfeiture,
contract to acquire stock or similar interest, regardless of whether it is contingent or
otherwise not currently exercisable. Tax Ownership of Covered Claims shall be
determined as if such Covered Claims were Stock of the Debtors. “Tax Ownership” and
“Tax Owner” shall have correlative meanings.


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               “Threshold Amount” means, as an initial matter, $5,000,000. The Debtors will
       periodically review the definition of the Threshold Amount, in consultation with the
       Creditors’ Committee and counsel to the administrative agent under the Debtors’
       proposed post-petition financing facility, with a view to ensuring the reasonableness
       thereof, but in no event shall the Threshold Amount be decreased with retroactive effect.
       Any changes to the definition of the term Threshold Amount will be filed with the Court
       and served and published in the manner described in Section (i) of this Paragraph 15.

               “U.S. Trustee” has the meaning given in Section (a) of this Paragraph 15.

                          Ample Support Exists for the Proposed
                         Restrictions and Notification Requirements

       16.    It is well-established that a debtor’s NOL is property of its estate and is protected

by section 362 of the Bankruptcy Code. The Court of Appeals for the Second Circuit, in its

seminal decision Prudential Lines, Inc. v. PSS Steamship Co., Inc. (In re Prudential Lines Inc.),

928 F.2d 565 (2d Cir. 1991), cert. denied, 502 U.S. 821 (1991), affirmed the application of the

automatic stay and upheld a permanent injunction against a parent corporation that sought to take

a worthless stock deduction with regard to the stock of its subsidiary, which was the debtor in

that case. Observing that the worthless stock deduction (which in this context would result in a

section 382 limitation of zero) would have adversely affected the subsidiary’s ability to use its

NOL carryforwards post-bankruptcy, the Second Circuit held that the subsidiary’s NOL

carryforwards were property of the estate under the broad language of section 541 of the

Bankruptcy Code:

              Including NOL carryforwards as property of a corporate debtor’s estate is
              consistent with Congress’ intention to “bring anything of value that the debtors
              have into the estate.” Moreover, “[a] paramount and important goal of chapter 11
              is the rehabilitation of the debtor by offering breathing space and an opportunity
              to rehabilitate its business and eventually generate revenue.” Including the right
              to a NOL carryforward as property of [the debtor’s] bankruptcy estate furthers the
              purpose of facilitating the reorganization of [the debtor].

Id. at 573 (citations omitted); see also White Metal Rolling & Stamping Corp. v. Drew

Industries, Inc. (In re White Metal Rolling & Stamping Corp.), 222 B.R. 417, 424 (Bankr.



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S.D.N.Y. 1998) (“It is beyond peradventure that NOL carrybacks and carryovers are property of

the estate of the loss corporation that generated them.”). The Second Circuit then held that the

parent corporation’s attempt to claim a worthless stock deduction for the stock of its debtor

subsidiary would effectively eliminate the value of the debtor’s NOL carryforwards and, thus,

would be an act to exercise control over estate property in violation of the automatic stay under

section 362 of the Bankruptcy Code. Prudential Lines, 928 F.2d at 573–74. Shortly before this

decision was issued, the Eighth Circuit adopted the reasoning of the lower court in Prudential

Lines and also held that NOL carryforwards are property of the estate. Russell v. United States

(In re Russell), 927 F.2d 413, 417 (8th Cir. 1991) (citing Prudential Lines, 107 B.R. 832, 836

(Bankr. S.D.N.Y. 1989), aff’d, 119 B.R. 430 (S.D.N.Y. 1990), aff’d, 928 F.2d 565 (2d Cir.

1991)). The Eighth Circuit found that NOL carryforwards were property of a debtor’s estate for

the purpose of determining whether an irrevocable election to carryforward NOLs was an

unauthorized post-petition transfer. See id.; Walterman Implement, Inc. v. Walterman (In re

Walterman Implement Inc.), 97 A.F.T.R.2d 2006-2626 (Bankr. N.D. Iowa 2006) (holding that

“Debtor’s subchapter S status is property of the estate” and that revoking the subchapter S

election was a violation of the automatic stay).

       17.     Section 362(a) of the Bankruptcy Code operates as a stay of, among other things,

“any act to obtain possession of property of the estate or of property from the estate or to

exercise control over property of the estate.” 11 U.S.C. § 362(a)(3). Accordingly, “where a non-

debtor’s action with respect to an interest that is intertwined with that of a bankrupt debtor would

have the legal effect of diminishing or eliminating property of the bankrupt estate, such action is

barred by the automatic stay.” Prudential Lines, 928 F.2d at 574 (citing 48th St. Steakhouse, Inc.

v. Rockefeller Grp., Inc. (In re 48th St. Steakhouse, Inc.), 835 F.2d 427, 431 (2d Cir. 1987)). The




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Second Circuit held that, “despite the fact that the [parent corporation’s] action [of filing for a

worthless stock deduction] is not directed specifically at [the debtor subsidiary], it is barred by

the automatic stay as an attempt to exercise control over property of the estate.” See id.

       18.     The Second Circuit also held that the permanent injunction was supported by the

court’s equitable powers pursuant to section 105(a) of the Bankruptcy Code, and refused to

disturb the bankruptcy court’s finding that elimination of the debtor’s ability to apply its NOL to

offset income on future tax returns would impede its reorganization. Id.

       19.     Similarly, in In re Phar-Mor, Inc., 152 B.R. 924 (Bankr. N.D. Ohio 1993), aff’d,

101 F.3d 689 (3rd Cir. 1996), chapter 11 debtors moved to prohibit any transfer of the debtors’

stock that could have triggered the section 382 limitation. The court held that the NOL was

property of the estate and it issued an injunctive order to protect the asset and enforce the

automatic stay. Id. at 927. Significantly, the court granted the requested relief notwithstanding

that the stockholders had not stated an intent to sell their stock and the debtors had not shown the

existence of a pending sale that would trigger an Ownership Change. See id. The court observed

that “[w]hat is certain is that the NOL has a potential value, as yet undetermined, which will be

of benefit to creditors and will assist [d]ebtors in their reorganization process. This asset is

entitled to protection while [d]ebtors move forward toward reorganization.”            Id. (emphasis

added). The court also concluded that, because the debtors were seeking to enforce the stay, they

did not have to meet the more stringent requirements for a grant of preliminary injunctive relief:

               The requirements for enforcing an automatic stay under 11 U.S.C. § 362(a)(3) do
               not involve such factors as lack of an adequate remedy at law, or irreparable
               injury, or loss and a likelihood of success on the merits. The key elements for a
               stay . . . are the existence of property of the estate and the enjoining of all efforts
               by others to obtain possession or control of property of the estate.

Id. at 926 (citing Golden Distribs, Ltd. v. Reiss (In re Golden Distribs., Ltd.), 122 B.R. 15, 19

(Bankr. S.D.N.Y. 1990)).


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       20.     Courts in this and other jurisdictions have routinely restricted transfers of equity

interests or claims (or have instituted notice procedures regarding such proposed transfers) to

protect a debtor against the possible loss of its NOL carryovers and certain other tax attributes.

See, e.g., In re Sanchez Energy Corporation, 19-34508 (MI) (Bankr. S.D. Tex. September 19,

2019); In re Vanguard Natural Resources, Inc., No. 19-31786 (DRJ) (Bankr. S.D. Tex. Apr. 1,

2019); In re Parker Drilling Co., No. 18-36958 (MI) (Bankr. S.D. Tex. Jan. 03, 2019); In re

Gastar Exploration Inc., No. 18-36057 (MI) (Bankr. S.D. Tex. Oct. 31, 2018); In re

iHeartMedia, Inc., No. 18-31274 (MI) (Bankr. S.D. Tex. Apr. 12, 2018); In re EXCO Res., Inc.,

No. 18-30155 (MI) (Bankr. S.D. Tex. Feb. 13, 2018); In re Cobalt Int’l Energy, Inc., No. 17-

36709 (MI) (Bankr. S.D. Tex. Jan. 11, 2018).

       21.      In short, it is well-settled by courts in this and other circuits that section 362(a)(3)

of the Bankruptcy Code stays actions that could adversely affect a debtor’s NOL carryforwards.

               The Proposed Notice and Approval Procedures Are Necessary
             and in the Best Interests of the Debtors, Their Estates and Creditors

       22.     The proposed procedures and restrictions are necessary to protect the Debtors’

Tax Attribute carryforwards, which are valuable assets of the Debtors’ estates, while providing

appropriate latitude for trading in Stock below specified levels and for trading in Covered Claims.

The Debtors’ ability to meet the requirements of the tax laws to protect their Tax Attribute

carryforwards may be jeopardized unless procedures are established to ensure that certain trading

in Stock is either precluded or closely monitored and made subject to Court approval and that the

Debtors have the ability to reestablish the status quo with respect to Covered Claims. However,

the Debtors recognize that the trading in Stock below specified levels (with contemporaneous

notice of the transfers) and free trading of Covered Claims does not pose a serious risk to the Tax

Attribute carryforwards.



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       23.     The relief requested herein is tailored as narrowly as is reasonable to permit

certain Stock and Covered Claims trading to continue, subject only to Bankruptcy Rule 3001(e)

and applicable securities, corporate and other laws. The proposed restrictions on trading are

crucial because once a claim or interest is transferred, the transaction arguably might not be

reversible for tax purposes, though it should be null and void under section 362 of the

Bankruptcy Code.      The relief requested is, therefore, critical to prevent what may be an

irrevocable loss of the Debtors’ Tax Attribute carryforwards.

                                     Debtors’ Reservation of Rights

       24.     Nothing contained herein is intended or should be construed as, or deemed to

constitute, an agreement or admission as to the validity of any claim against the Debtors on any

grounds, a waiver or impairment of the Debtors’ rights to dispute any claim on any grounds, or

an assumption or rejection of any agreement, contract, or lease under section 365 of the

Bankruptcy Code. The Debtors expressly reserve their rights to contest any claims related to the

Insurance Obligations under applicable bankruptcy and non-bankruptcy law. Likewise, if the

Court grants the relief sought herein, any payment made pursuant to the Court’s order is not

intended, and should not be construed, as an admission as to the validity of any claim or a waiver

of the Debtors’ rights to dispute such claim subsequently.

                                    Emergency Consideration
       25.     Pursuant to Local Rule 9013-1(i), the Debtors respectfully request emergency

consideration of this Motion under Bankruptcy Rule 6003(b). Bankruptcy Rule 6003 provides

that, “[e]xcept to the extent that relief is necessary to avoid immediate and irreparable harm, the

court shall not, within 21 days after the filing of the petition, issue an order granting . . . (b) a

motion to use, sell, lease, or otherwise incur an obligation regarding property of the estate,

including a motion to pay all or part of a claim that arose before the filing of the petition . . . .”


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Fed. R. Bankr. P. 6003. As set forth in this Motion and the Rahlfs Declaration, the Debtors

believe that an orderly transition into chapter 11 is critical to the viability of the Debtors’

businesses, operations, and estates and that any delay in granting the emergency relief requested

herein could cause immediate and irreparable harm.           Failure to implement the Procedures

immediately could allow for trading activity that could imperil the Debtors’ valuable Tax

Attributes, causing irreparable harm. Accordingly, the emergency relief requested herein is

consistent with Bankruptcy Rule 6003.

    Compliance with Bankruptcy Rule 6004(a) and Waiver of Bankruptcy Rule 6004(h)

       26.     To implement successfully the relief sought herein, the Debtors request that the

Court find that notice of the Motion is adequate under Bankruptcy Rule 6004(a) under the

circumstances. The Debtors also request that, to the extent applicable to the relief requested in

this Motion, the Court waive the stay imposed by Bankruptcy Rule 6004(h), which provides that

“[a]n order authorizing the use, sale, or lease of property other than cash collateral is stayed until

the expiration of 14 days after entry of the order, unless the court orders otherwise.” Fed. R.

Bankr. P. 6004(h). As described above, the relief that the Debtors seek in this Motion is

necessary for the Debtors to operate their businesses without interruption and to preserve value

for their estates. Accordingly, the Debtors respectfully submit that ample cause exists to justify

the (a) finding that the notice requirements under Bankruptcy Rule 6004(a) have been satisfied

and (b) waiving of the 14-day stay imposed by Bankruptcy Rule 6004(h), as the exigent nature of

the relief sought herein justifies immediate relief.

                                               Notice

       27.     Notice of the Interim Hearing and the relief requested in the Motion has been

provided by telecopy, email, overnight courier, and/or hand delivery, to (a) the United States

Trustee for the Southern District of Texas, (b) those creditors holding the 30 largest unsecured


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claims against the Debtors’ estates (on a consolidated basis), (c) White & Case LLP, as counsel

to Coöperatieve Rabobank U.A., New York Branch, the administrative agent under the Debtors’

prepetition receivables purchase agreement, the administrative agent under the Debtors’

prepetition secured revolving credit facility, and the administrative agent under the Debtors’

proposed post-petition financing facility, (d) indenture trustee under the Debtors’ prepetition

unsecured bond indenture, (e) Mayer Brown LLP, as counsel to PNC Bank, National Association,

the co-agent under Debtors’ prepetition receivables purchase agreement, (f) Paul, Weiss, Rifkind,

Wharton & Garrison LLP, as counsel to an ad hoc group of prepetition unsecured noteholders, (g)

the Securities and Exchange Commission, (h) the Internal Revenue Service, (i) the United States

Attorney’s Office for the Southern District of Texas, (j) the state attorneys general for states in

which the Debtors conduct business, (k) all other parties asserting a security interest in the assets

of the Debtors to the extent reasonably known to the Debtors, (l) any identified Substantial

Equityholders and Substantial Claimholders, and (m) any party that has requested notice

pursuant to Bankruptcy Rule 2002 (the “Notice Parties”). A copy of this Motion and any order

approving it will also be made available on the Debtors’ case information website located at

https://dm.epiq11.com/SouthernFoods.      Under the circumstances, such notice of the Interim

Hearing and the relief requested in the Motion constitutes due, sufficient and appropriate notice

and complies with section 102(1) of the Bankruptcy Code, Bankruptcy Rules 2002, 4001(b) and

(c) and 9014, the Local Rules, and the Complex Case Rules.

                                        No Prior Request

       28.     The Debtors have not previously sought the relief requested herein from the Court

or any other court.




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         WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Orders,

substantially in the forms attached hereto, respectively, granting the relief requested herein and

such other and further relief as the Court deems just and proper.

Dated:    November 12, 2019
          Houston, Texas
                                                Respectfully submitted,
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                                                -and-

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                                                Proposed Counsel to the Debtors and Debtors in
                                                Possession




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                                    Certificate of Accuracy

       I certify that the facts and circumstances described in the above pleading giving rise to
the emergency request for relief are true and correct to the best of my knowledge, information,
and belief.
                                                        /s/ William R. Greendyke
                                                        William R. Greendyke
